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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                Plaintiff,                    )
                                              )
v.                                            )       Cr. No. 15-10011-STA-2
                                              )
CALVIN BAILEY,                                )
                                              )
                Defendant.                    )


     ORDER DIRECTING THE PARTIES TO PREPARE SUPPLEMENTAL BRIEFING


         On September 1, 2020, the United States Court of Appeals for the Sixth Circuit issued its

decision affirming in part, and reversing and remanding in part the Court’s judgment against

Defendant Calvin Bailey. See United State v. Bailey, 973 F.3d 548 (6th Cir. 2020). The Court of

Appeals affirmed Defendant’s conviction for conspiracy in violation of 18 U.S.C. § 371 but

remanded for resentencing. At sentencing, the Court had applied a sixteen-level increase to

Defendant’s offense level because the Court found that the loss caused by his conduct exceeded

$1,500,000. See U.S.S.G. § 2B1.1(b)(1)(I). On appeal, the Sixth Circuit held that the Court

applied “too broad a standard for determining [Defendant’s] relevant conduct” and thereby

“considered conduct outside his relevant conduct when setting his loss amount.” Bailey, 973

F.3d at 574, 575.     The Court of Appeals also pointed out that subsequent to Defendant’s

sentencing in this matter, the Sixth Circuit had announced a series of factors for district courts to

consider at sentencing when determining a defendant’s relevant conduct and the amount of loss.

United      States    v.     Donadeo,     910      F.3d     886,     893     (6th     Cir.    2018).

         Based on the decision from the Court of Appeals and in preparation for resentencing
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Defendant, the Court finds that additional briefing from the parties would aid the Court. The

government is ordered to file a brief on the correct calculation and ascertainment of Defendant’s

relevant conduct for purposes of resentencing.      The government’s brief should include all

citations to any authority the Court should consider in making its decision as well as a summary

of any proof the government would rely on for support of its calculation of the amount of loss,

including proof to be offered at the resentencing. The brief of the United States is due within 21

days of the entry of this order. Defendant will then have 21 days from the service of the

government’s brief to address the same factors. In the event that counsel for both parties can

reach an agreement on the amount of loss and the application of the Donadeo factors, they may

submit a joint statement to the Court. The Court will set the resentencing hearing by separate

order.

         IT IS SO ORDERED.

                                             s/ S. Thomas Anderson
                                             S. THOMAS ANDERSON
                                             CHIEF UNITED STATES DISTRICT JUDGE

                                             Date: January 11, 2021




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